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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS


PCI SYSTEMS, INC.,                        )
                                          )       Case No. 08 C 595
        Plaintiff,                        )
v.                                        )       Judge Blanche M. Manning
                                          )
                                          )       Magistrate Judge Nan R. Nolan
FIBERWEB, INC.,                           )
                                          )       JURY DEMANDED
       Defendant.                         )


                           JOINT INITIAL STATUS REPORT

       The parties, Plaintiff PCI Systems, Inc. (“PCI”) and Defendant Fiberweb, Inc.

(“Fiberweb”), respectfully submit this initial status report addressing the matters in

Magistrate Judge Nolan’s Standing Order.

       PCI’s Amended Complaint is founded upon a claim for misappropriation of trade

secrets under the Illinois Uniform Trade Secrets Act, 765 ILCS 1065/1. Plaintiff PCI

alleges that its principal, Peter Carbonaro, disclosed certain trade secrets to Defendant

Fiberweb that were used by Fiberweb in a new product called “StormWrap™” that

Fiberweb introduced in 2007. StormWrap™ is a type of housewrap product for use in

home construction. Fiberweb, in its Answer, has denied those allegations and has

asserted various defenses. There are no counterclaims at this time.

       The relief sought by PCI is compensatory damages, including any unjust

enrichment which Fiberweb has derived from PCI’s trade secrets, exemplary damages,

and attorney’s fees, under the trade secret statute.       Fiberweb seeks an award of

attorney’s fees under the trade secret statute.
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         Judge Manning has referred the case for discovery supervision, settlement

conference and all nondispositive pretrial motions.

         Discovery has not yet begun. The parties have conferred about a schedule for

discovery, but are not yet in agreement about dates for discovery. The parties are

continuing to work on proposed dates, and will attempt to submit a Proposed Agreed

Scheduling Order. The parties do not know how many depositions will be required, but

do not expect to exceed the standard limit of 10 per side.

         The parties will not consent to trial before a Magistrate Judge at this time.

         There have been no settlement negotiations to date.


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Dated:          April 21, 2008                   Dated:        April 21, 2008
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                              CERTIFICATE OF SERVICE

       The undersigned hereby certifies that the foregoing JOINT INITIAL STATUS
REPORT was filed with the Clerk of the court on April 21, 2008 using the CM/ECF
system, which will send notification of such filing to the following at their email address
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